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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA
O8-G7F

)
}
Vv. } Criminal No. Erie
}
)
)

BILL R. RANA
MELVIN E. SCHRECENGOST

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, INFORMATION MEMORANDUM

AND NOW comes the United States of America, by its

attorneys, Mary Beth Buchanan, United States Attorney for the

Western District of Pennsylvania, and Marshall g. Piccinini,

Assistant United States Attorney for said District, and submits

this Informaticn Memorandum to the Court:

I. THE INFORMATION

 

4 one-count Information was filed against the above-named

defendants for an alleged violation of federal law:

COUNT OFFENSE/DATE TITLE/ SECTION
1 Conspiracy to 21 U.S.C. §846

distribute and to
possess with intent

to distribute five

{5) kilograms or more
of cocaine, a Schedule
Il controlled substance
From in and around
March 2007

to in and around

May 2008

 
 

 

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II, ELEMENTS OF THE OFFENSE
A. As to Count 1:

In order for the crime of conspiracy to distribute and to
possess with intent to distribute five (5) kilograms or more of
cocaine, in violation of 21 U.S.C. §846 to be established, the
government must prove all of the following essential elements
beyond a reasonable doubt:

1. That two or more persons came to 2a mutual
understanding or agreement to try to accomplish a common and
unlawful plan to distribute and/or possess with intent to
distribute the controlled substance charged in the indictment.

United States v. Boyd, 595 F.2d 120 (3d Cir.

1978); United States v. Garcia, 655 F.24 59,

62 (Sth Cir. 1981); United States v. Allen,

613 F.2d 1248, 1253 (3d Cir. 1980).

2. That the defendant knowingly and willfully
became a member of such conspiracy.

United States v. Adams, 759 F.2d 1099, 1114

(3d Cir.), cert. denied, 474 U.S. 906 (1985);

United States wv, Bedolato, 701 F.2d 915,
921-22 {llth Cir. 1983).

 

3. That cocaine is a Schedule II controlled
substance, pursuant to 21 U.S.C. §812(c), Schedule II (a) (4),

4. That the conspiracy had the specific unlawful
purpose of distributing and/or possessing with intent to distribute
five (5) kilograms or more of cocaine. 210U.S.c, 8841 (b) (1) (A) (ia).

Apprendi v. New Jersey, 530 U.S. 466 (2000),

 
 

 

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III. PENALTIES
A. As to Count 1: Conspiracy to distribute and to
possess with intent to distribute five (5)
kilograms or more of cocaine (21 U.S.C. §846);
1. A term of imprisonment of not less than ten
(10) years tc a maximum of life.
2. A fine not to exceed $4,000,000.
3. A term of supervised release of at least five

(5) years.

For a second felony drug conviction that is final,

whether federal, state, or foreign:

L. A term of imprisonment of not less than twenty
{20} years to a maximum of life.

2. A fine not to exceed $8,000,00c.

3. A term of supervised release of at least ten

(10) years.
For a third or subsequent felony drug conviction that is
final, whether federal, state, or foreign:
1. A mandatory sentence of life imprisonment .
2. A Fine not to exceed $8,000,000,

IV. MANDATORY SPECIAL ASSESSMENT

 

A Mandatory special assessment of $100.00 must be imposed
at each count upon which the defendants are convicted, pursuant to

18 U.S.C. §3013.

 
 

  

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V. RESTITUTION
Not applicable in this case.
VI. FORFEITURE
Not applicable in this case.
Respectfully submitted,

MARY BETH BUCHANAN
United States Attorney

  
 

 

 

MARSHALL J. PICCININI
Assisfant U.S. Attorney

PA ID No. 56362

 

 

 
